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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                               Case No. 16-Civ-61155-COOKE
                               (Case No. 95-Cr-6031-COOKE)

  TRACY TOPAZ TURNER,

         Movant,

  vs.

  UNITED STATES OF AMERICA,

        Respondent.
  __________________________________/
           ORDER ADOPTING MAGISTRATE’S SUPPLEMENTAL REPORT
                          AND STAYING CASE
         THIS MATTER was referred to the Honorable Patrick A. White, United States
  Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B) and Administrative Order 2003-19
  of this Court, for a ruling on all pre-trial, non-dispositive matters and for a Report and
  Recommendation on any dispositive matters (ECF No. 3). On August 2, 2016, Judge
  White issued a Supplemental Report of Magistrate Judge Vacating Prior Report (DE #5)
  (ECF No. 18) recommending that (i) his previous Report Re Dismissal for Failure to Obtain
  Authorization Pursuant to 28 U.S.C. § 2244(b)(3) (ECF No. 5) be vacated; (ii) this § 2255
  proceeding be stayed pending the U.S. Supreme Court’s decision in Beckles; (iii) this case be
  administratively closed in the interim; and (iv) no certificate of appealability issue. The
  parties had through and including August 19, 2016 by which to file any objections to Judge
  White’s Supplemental Report, and none have been filed.
         I have considered Judge White’s Supplemental Report of Magistrate Judge Vacating
  Prior Report (DE #5), Plaintiff’s Motion, the relevant legal authorities, and have made a de
  novo review of the record. I find Judge White’s Supplemental Report of Magistrate Judge
  Vacating Prior Report (DE #5) clear, cogent, and compelling. As such, it is ORDERED
  and ADJUDGED that Judge White’s Supplemental Report of Magistrate Judge Vacating
  Prior Report (DE #5) (ECF No. 18) is AFFIRMED and ADOPTED. Judge White’s
  previous Report Re Dismissal for Failure to Obtain Authorization Pursuant to 28 U.S.C. §
  2244(b)(3) (ECF No. 5) is hereby VACATED. This matter shall be STAYED pending the
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  U.S. Supreme Court’s decision in Beckles v. United States, No. 15-8544 (U.S.). Parties shall
  immediately notify this Court once the U.S. Supreme Court has issued its opinion in Beckles.
  No certificate of appealability shall issue in this case.   In the interim, the Clerk shall
  administratively CLOSE this case.
          DONE and ORDERED in Chambers, at Miami, Florida, this 31st day of August
  2016.




  Copies furnished to:
  Patrick A. White, U.S. Magistrate Judge
  Counsel of Record




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